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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Criminal No. 21-108 (PAM/TNL)

 UNITED STATES OF AMERICA,

                       Plaintiff,
                                                            DETENTION ORDER
        v.

 (1) DEREK MICHAEL CHAUVIN,

                       Defendant.


       This matter was before the Court on June 1, 2021, for an initial appearance via

video conference. Defendant was present and represented by Eric Nelson. The

Government was represented by Manda Sertich, Assistant United States Attorney, and

Samantha Trepel, Special Litigation Counsel for the Civil Rights Division. The United

States moved for detention. Defendant did not contest the motion and waived his right to

a detention hearing. This Court finds that no condition or combination of conditions of

release will reasonably assure the safety of the community or the appearance of

Defendant as required. Accordingly, the Government's motion for detention without bond

is granted.

                            FINDINGS AND CONCLUSIONS

       1.       Defendant is charged in this case by Indictment with two Counts of

Deprivation of Rights Under Color of Law, in violation of 18 U.S.C. § 242, resulting in

the death of George Floyd. Defendant is also charged by separate Indictment with two

additional Counts of Deprivation of Rights Under Color of Law, in violation of 18 U.S.C.


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§ 242, resulting in bodily injury to a fourteen-year-old identified as “Juvenile 1.” Thus,

the nature of this offense is very serious.

       2.       Defendant was recently convicted by jury verdict in Hennepin County

District Court of second degree murder, third degree murder, and second degree

manslaughter, based on the same conduct charged in this Indictment. Defendant is

currently in custody pending sentencing for those convictions.

       3.       Defendant knowingly and intelligently waived his right to contest the

Government’s motion for detention.

       4.       The Court finds that detention is appropriate in this case, based in part on

Defendant’s waiver. Additionally, based on the reasons set forth in the Bond Report, the

risk of non-appearance and to the safety of the community is evident.

                                 CONCLUSIONS OF LAW

       Based upon the record of these proceedings, the Court concludes that Defendant

has waived his right to a detention hearing. The Court also concludes there is clear and

convincing evidence that Defendant presents a risk of danger to the community and by a

preponderance of the evidence that Defendant presents a risk of nonappearance such that

no condition or combination of conditions of release will reasonably assure the safety of

the community or Defendant’s appearance.

Accordingly, IT IS HEREBY ORDERED that:

       1.       The motion of the United States for detention without bond is GRANTED;

       2.       Defendant is committed to the custody of the United States Marshals for

confinement in a correctional facility separate, to the extent practicable, from persons

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awaiting or serving sentences or being held in custody pending appeal;

       3.       Defendant shall be afforded reasonable opportunity to consult privately

with his lawyer; and

       4.       Upon order of the Court or request by the United States Attorney, the

person in charge of the correctional facility in which Defendant is confined shall deliver

him to the United States Marshal for the purpose of appearance in connection with a

court proceeding.



Dated: June 4, 2021                               s/ Becky R. Thorson
                                                  BECKY R. THORSON
                                                  U.S. Magistrate Judge




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